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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                             8:13-CR-223

vs.
                                                  TENTATIVE FINDINGS
ALEX C. TAYLOR,

                  Defendant.

      The Court has received the revised presentence investigation report in
this case. Both the United States and the defendant (filings 101 and 103)
have filed objections to the presentence report. The defendant has also filed a
sentencing memorandum (filing 109) that the Court understands to be a
motion for variance.

      IT IS ORDERED:

1.    The Court will consult and follow the Federal Sentencing Guidelines to
      the extent permitted and required by United States v. Booker, 543 U.S.
      220 (2005), and subsequent cases. In this regard, the Court gives notice
      that, unless otherwise ordered, it will:

      (a)   give the advisory Guidelines respectful consideration within the
            context of each individual case and will filter the Guidelines'
            advice through the 18 U.S.C. § 3553(a) factors, but will not afford
            the Guidelines any particular or "substantial" weight;

      (b)   resolve all factual disputes relevant to sentencing by the greater
            weight of the evidence and without the aid of a jury;

      (c)   impose upon the United States the burden of proof on all
            Guidelines enhancements;

      (d)   impose upon the defendant the burden of proof on all Guidelines
            mitigators;

      (e)   depart from the advisory Guidelines, if appropriate, using pre-
            Booker departure theory; and
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     (f)   in cases where a departure using pre-Booker departure theory is
           not warranted, deviate or vary from the Guidelines when there is
           a principled reason justifying a sentence different than that
           called for by application of the advisory Guidelines, again without
           affording the Guidelines any particular or "substantial" weight.

2.   Both the United States and the defendant (filings 101 and 103) have
     filed objections to the presentence report, urging the Court to
     determine the defendant's Guidelines range based on the drug quantity
     stated in the plea agreement. The United States also notes that the
     defendant was charged with possessing methamphetamine mixture,
     not actual methamphetamine. Filing 103. The Court will resolve these
     objections at sentencing.

3.   The defendant has filed a sentencing memorandum (filing 109) that the
     Court understands to be a motion for variance. In part, the defendant
     asking for a two-level reduction in the base offense level (and, as a
     result, in the final offense level) based upon the amendments to
     U.S.S.G. § 2D1.1 that have been adopted by the United States
     Sentencing Commission and that, absent action of Congress to the
     contrary, will become effective on November 1, 2014. Filing 109 at 3.
     See Sentencing Guidelines for United States Courts, 79 Fed. Reg.
     25,996, 26,001-06 (May 6, 2014). The defendant also argues that the
     Court should vary downward pursuant to 18 U.S.C. § 3553(a), based on
     his personal circumstances and the circumstances of the offense. Filing
     109 at 3-9. Finally, the defendant argues that the Court should vary
     downward because of policy-based disagreement with the Guidelines
     for drug trafficking offenses. Filing 109 at 10-14.

     The Court acknowledges its discretionary authority to substantially
     vary from a correctly calculated guidelines range, based exclusively
     upon the Court's policy disagreement with a particular guideline, if the
     guideline at issue is not the product of the Sentencing Commission's
     institutional strengths. United States v. VandeBrake, 679 F.3d 1030,
     1042-43 (8th Cir. 2012) (citing Kimbrough v. United States, 552 U.S. 85,
     109 (2007)). The Court will resolve the defendant's motion for variance,
     on this ground and the others, at sentencing.

4.   In his sentencing memorandum, the defendant also asks the Court to
     consider alternatives to incarceration, and recommend that the
     defendant be permitted to serve whatever sentence is imposed as close
     to Los Angeles, California, as possible. Filing 109 at 14-15. The Court


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     will ask counsel and the probation officer to research sentencing
     alternatives, and will consider the defendant's request and resolve it at
     sentencing.

5.   Except to the extent, if any, that the Court has sustained an objection,
     granted a motion, or reserved an issue for later resolution in the
     preceding paragraph, the parties are notified that the Court's tentative
     findings are that the presentence report is correct in all respects.

6.   If any party wishes to challenge these tentative findings, that party
     shall, as soon as possible (but in any event no later than three (3)
     business days before sentencing) file with the Court and serve upon
     opposing counsel an objection challenging these tentative findings,
     supported by a brief as to the law and such evidentiary materials as are
     required, giving due regard to the local rules of practice governing the
     submission of evidentiary materials. If an evidentiary hearing is
     requested, such filings should include a statement describing why a
     hearing is necessary and how long such a hearing would take.

7.   Absent timely submission of the information required by the preceding
     paragraph, the Court's tentative findings may become final and the
     presentence report may be relied upon by the Court without more.

8.   Unless otherwise ordered, any objection challenging these tentative
     findings shall be resolved at sentencing.

     Dated this 27th day of June, 2014.


                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge




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